     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 1 of 15 Page ID #:1




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 9
10                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
11
12   IMELDA APARICIO, individually and )             Case No.
     on behalf of all others similarly situated, )
13
                                                 )   CLASS ACTION
14   Plaintiff,                                  )
                                                 )   COMPLAINT FOR VIOLATIONS
15
            vs.                                  )   OF:
16                                               )
     USCB, INC., and DOES 1-10,                  )      1.      NEGLIGENT VIOLATIONS
17                                                              OF THE TELEPHONE
     inclusive,                                  )              CONSUMER PROTECTION
18                                               )              ACT [47 U.S.C. §227 ET
19   Defendant.                                  )              SEQ.]
                                                        2.      WILLFUL VIOLATIONS
                                                 )              OF THE TELEPHONE
20
                                                 )              CONSUMER PROTECTION
21                                               )              ACT [47 U.S.C. §227 ET
                                                                SEQ.]
22                                               )      3.      VIOLATIONS OF THE
                                                 )              ROSENTHAL FAIR DEBT
23                                               )              COLLECTION PRACTICES
                                                                ACT [CAL. CIV. CODE
24                                               )              §1788 ET SEQ.]
                                                 )
25
                                                 )   DEMAND FOR JURY TRIAL
26
27
           Plaintiff IMELDA APARICIO (“Plaintiff”), individually and on behalf of
28
     all others similarly situated, alleges the following against Defendant USCB, INC.


                                    CLASS ACTION COMPLAINT
                                               -1-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 2 of 15 Page ID #:2




 1   (“Defendant”) upon information and belief based upon personal knowledge:
 2                                  INTRODUCTION
 3         1.     Plaintiff’s Class Action Complaint is brought pursuant to the
 4   Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).
 5         2.     Plaintiff, individually, and on behalf of all others similarly situated,
 6
     brings this Complaint for damages, injunctive relief, and any other available legal
 7
     or equitable remedies, resulting from the illegal actions of Defendant             in
 8
     negligently, knowingly, and/or willfully contacting Plaintiff no Plaintiff’s cellular
 9
     telephone, thereby the TCPA, 47 U.S.C. § 227. Plaintiff alleges as follows upon
10
     personal knowledge as to herself and her own acts and experiences, and, as to all
11
     other matters, upon information and belief, including investigation conducted by
12
     his attorneys.
13
           3.     In addition to Plaintiff’s Class Claims, Plaintiff also brings an action
14
15
     for damages as an individual consumer for Defendant’s violations the Rosenthal

16   Fair Debt Collection Practices Act, Cal Civ. Code §1788, et seq. (hereinafter

17   “RFDCPA”) which prohibits debt collectors from engaging in abusive, deceptive,
18   and unfair practices.
19                           JURISDICTION AND VENUE
20
21         4.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,

22   a resident of California, seeks relief on behalf of a Class, which will result in at
23   least one class member belonging to a different state than that of Defendant, a
24   California company that does business in California and other States. Plaintiff also
25   seeks up to $1,500.00 in damages for each call in violation of the TCPA, which,
26   when aggregated among a proposed class in the thousands, exceeds the
27   $5,000,000.00 threshold for federal court jurisdiction. Therefore, both diversity
28   jurisdiction and the damages threshold under the Class Action Fairness Act of 2005


                                  CLASS ACTION COMPLAINT
                                             -2-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 3 of 15 Page ID #:3




 1   (“CAFA”) are present, and this Court has jurisdiction.

 2         5.       Alternatively, this Court has jurisdiction over Plaintiff’s TCPA claims
 3   pursuant to 28 U.S.C. § 1331.
 4         6.       Ancillary to Plaintiff’s TCPA claims, this Court has jurisdiction
 5   pursuant to 28 U.S.C. § 1367(a) over Plaintiff’s claims arising under the RFDCPA,
 6   Cal. Civ. Code § 1788, et seq. because they arise under the same case or
 7   controversy.
 8         7.       Venue is proper in the United States District Court for the Central
 9   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
10
     business within the State of California and Plaintiff resides within this District.
11
                                           PARTIES
12
13
           8.       Plaintiff, IMELDA APARICIO (“PLAINTIFF”), is a natural person

14   residing in Los Angeles County in the state of California, and is a “person” as
15   defined by 47 U.S.C. § 153(39). Furthermore, Plaintiff is a “debtor” as defined by
16   the RFDCPA, Cal. Civ. Code § 1788.2(h).
17         9.       At all relevant times herein, DEFENDANT, USCB, INC.
18   (“DEFENDANT”), is a company engaged in collection activity in connection with
19   debts allegedly owed to it, and is a “person” as defined by 47 U.S.C. § 153(39).
20   Furthermore, Defendant, at all relevant times herein, was a company engaged, by
21   use of the mails and telephone, in the business of collecting an alleged debt from
22   PLAINTIFF which qualifies as a “consumer debt” as defined by the RFDCPA,
23   Cal. Civ. Code § 1788.2(f). DEFENDANT regularly attempts to collect debts in
24
     the ordinary course of its business, and therefore is a “debt collector” as defined
25
     by the RFDCPA, Cal. Civ. Code § 1788.2(c).
26
           10.      The above named Defendant, and its subsidiaries and agents, are
27
     collectively referred to as “Defendants.” The true names and capacities of the
28



                                    CLASS ACTION COMPLAINT
                                               -3-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 4 of 15 Page ID #:4




 1   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 2   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 3   names. Each of the Defendants designated herein as a DOE is legally responsible
 4   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
 5
     the Complaint to reflect the true names and capacities of the DOE Defendants
 6
     when such identities become known.
 7
           11.     Plaintiff is informed and believes that at all relevant times, each and
 8
     every Defendant was acting as an agent and/or employee of each of the other
 9
     Defendants and was acting within the course and scope of said agency and/or
10
     employment with the full knowledge and consent of each of the other Defendants.
11
     Plaintiff is informed and believes that each of the acts and/or omissions
12
     complained of herein was made known to, and ratified by, each of the other
13
14
     Defendants.

15                        FACTUAL ALLEGATIONS – TCPA
           12.     Beginning in or around August of 2017, Defendant contacted Plaintiff
16
     on her cellular telephone number ending in -3644, in an effort to collect an alleged
17
     debt owed from Plaintiff.
18
19
           13.     Defendant called Plaintiff from telephone numbers confirmed to

20   belong to Defendant, including without limitation (888) 863-9820.
21         14.     In its efforts to collect the alleged debt owed from Plaintiff, Defendant
22   used an “automatic telephone dialing system,” as defined by 47 U.S.C. § 227(a)(1)
23   to place its daily calls to Plaintiff seeking to collect an alleged debt owed.
24         15.     Defendant’s calls constituted calls that were not for emergency
25   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
26         16.     Defendant’s calls were placed to telephone number assigned to a
27   cellular telephone service for which Plaintiff incurs a charge for incoming calls
28
     pursuant to 47 U.S.C. § 227(b)(1).


                                   CLASS ACTION COMPLAINT
                                              -4-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 5 of 15 Page ID #:5




 1         17.    During all relevant times, Defendant did not possess Plaintiff’s “prior

 2   express consent” to receive calls using an automatic telephone dialing system or an
 3   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 4   227(b)(1)(A).
 5         18.    Furthermore, Plaintiff orally revoked any and all consent to be
 6   contacted using an automated telephone dialing system, to the extent any ever
 7   existed.
 8         19.    Despite Plaintiff’s oral revocation of consent to be called, Defendant
 9   continued to call Plaintiff.
10
           20.    Plaintiff alleged upon information and belief, including without
11
     limitation her experience of being called by Defendant despite her explicit
12
     revocation of consent to be called, that Defendant failed to put in place reasonable
13
     policies and procedures to avoid violation of the TCPA.
14
15                       FACTUAL ALLEGATIONS – RFDCPA
16         21.    In addition to the facts pled above, at various times prior to the filing
17   of the instant complaint, including within one year preceding the filing of this
18   complaint, DEFENDANT contacted PLAINTIFF in an attempt to collect an
19   alleged outstanding debt.
20         22.    On or about July of 2017, Plaintiff began receiving numerous letters
21   from Defendant, in an attempt to collect upon an alleged debt.
22         23.    On or about August of 2017, Plaintiff began receiving numerous calls
23
     from Defendant.
24
           24.    Each of these calls were made to Plaintiff in connection with
25
     collection on an alleged debt.
26
           25.    On several occasions, Plaintiff told Defendant to stop calling her, but
27
     Defendant continued to call.
28



                                    CLASS ACTION COMPLAINT
                                               -5-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 6 of 15 Page ID #:6




 1         26.      The RFDCPA, Cal. Civ. Code § 1788.17 mandates that every debt
 2   collector collecting or attempting to collect a consumer debt shall comply with the
 3   Federal Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692b
 4   through 1692j and be subject to the remedies in the FDCPA, 15 U.S.C. § 1692k.
 5
           27.      DEFENDANT’S conduct violated the RFDCPA in multiple ways,
 6
     including but not limited to:
 7
                 a) Causing a telephone to ring repeatedly or continuously to annoy
 8
                    Plaintiff (Cal. Civ. Code § 1788.11(d));
 9
10               b) Communicating, by telephone or in person, with Plaintiff with such
                    frequency as to be unreasonable and to constitute an harassment to
11                  Plaintiff under the circumstances (Cal. Civ. Code § 1788.11(e));
12
                 c) Causing Plaintiffs telephone to ring repeatedly or continuously with
13
                    intent to harass, annoy or abuse Plaintiff (15 U.S.C. § 1692d(5));
14
15               d) Falsely representing the character, amount, or legal status of
16
                    Plaintiff’s debt (15 U.S.C. § 1692e(2)(A));

17
                 e) Threatening to take an action against Plaintiff that cannot be legally
18                  taken or that was not actually intended to be taken (15 U.S.C. §
19                  1692e(5));
20
                 f) Using false representations and deceptive practices in connection
21                  with collection of an alleged debt from Plaintiff (15 U.S.C. §
22                  1692e(10));
23
                 g) Communicating with Plaintiff at times or places which were known
24                  or should have been known to be inconvenient for Plaintiff (15
25                  U.S.C. § 1692c(a)(1)); and
26               h) Engaging in conduct the natural consequence of which is to harass,
27                  oppress, or abuse Plaintiff (15 U.S.C. § 1692d)).
28
           28.      As a result of the above violations of the RFDCPA, Plaintiff suffered


                                     CLASS ACTION COMPLAINT
                                                -6-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 7 of 15 Page ID #:7




 1   and continues to suffer injury to PLAINTIFF’S feelings, personal humiliation,
 2   embarrassment, mental anguish and emotional distress, and DEFENDANT is
 3   liable to PLAINTIFF for PLAINTIFF’S actual damages, statutory damages, and
 4   costs and attorney’s fees.
 5
                       CLASS ACTION ALLEGATIONS - TCPA
 6
           29.    Plaintiff brings this action individually and on behalf of all others
 7
     similarly situated, as a member of the proposed class (hereafter “The Class”)
 8
     defined as follows:
 9
10
                  All persons within the United States who received any
                  telephone calls from Defendant to said person’s cellular
11                telephone made through the use of any automatic
12                telephone dialing system or an artificial or prerecorded
                  voice and such person had not previously consented to
13
                  receiving such calls within the four years prior to the
14                filing of this Complaint
15
           30.    Plaintiff represents, and is a member of, The Class, consisting of All
16
     persons within the United States who received any collection telephone calls from
17
     Defendant to said person’s cellular telephone made through the use of any
18
     automatic telephone dialing system or an artificial or prerecorded voice and such
19
     person had not previously not provided their cellular telephone number to
20
     Defendant within the four years prior to the filing of this Complaint.
21
           31.    Defendant, its employees and agents are excluded from The Class.
22
     Plaintiff does not know the number of members in The Class, but believes the Class
23
     members number in the thousands, if not more. Thus, this matter should be
24
     certified as a Class Action to assist in the expeditious litigation of the matter.
25
           32.    The Class is so numerous that the individual joinder of all of its
26
     members is impractical. While the exact number and identities of The Class
27
     members are unknown to Plaintiff at this time and can only be ascertained through
28
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that

                                   CLASS ACTION COMPLAINT
                                              -7-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 8 of 15 Page ID #:8




 1   The Class includes thousands of members.         Plaintiff alleges that The Class
 2   members may be ascertained by the records maintained by Defendant.
 3         33.   Plaintiff and members of The Class were harmed by the acts of
 4   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 5   and Class members via their cellular telephones thereby causing Plaintiff and Class
 6   members to incur certain charges or reduced telephone time for which Plaintiff and
 7   Class members had previously paid by having to retrieve or administer messages
 8   left by Defendant during those illegal calls, and invading the privacy of said
 9   Plaintiff and Class members.
10         34.   Common questions of fact and law exist as to all members of The
11   Class which predominate over any questions affecting only individual members of
12   The Class. These common legal and factual questions, which do not vary between
13   Class members, and which may be determined without reference to the individual
14   circumstances of any Class members, include, but are not limited to, the following:
15               a.     Whether, within the four years prior to the filing of this
16                      Complaint, Defendant made any collection call (other than a
17                      call made for emergency purposes or made with the prior
18                      express consent of the called party) to a Class member using
19                      any automatic telephone dialing system or any artificial or
20                      prerecorded voice to any telephone number assigned to a
21                      cellular telephone service;
22               b.     Whether Plaintiff and the Class members were damages
23                      thereby, and the extent of damages for such violation; and
24               c.     Whether Defendant should be enjoined from engaging in such
25                      conduct in the future.
26         35.   As a person that received numerous collection calls from Defendant
27   using an automatic telephone dialing system or an artificial or prerecorded voice,
28   without Plaintiff’s prior express consent, Plaintiff is asserting claims that are


                                 CLASS ACTION COMPLAINT
                                            -8-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 9 of 15 Page ID #:9




 1   typical of The Class.
 2         36.    Plaintiff will fairly and adequately protect the interests of the members
 3   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
 4   class actions.
 5         37.    A class action is superior to other available methods of fair and
 6   efficient adjudication of this controversy, since individual litigation of the claims
 7   of all Class members is impracticable. Even if every Class member could afford
 8   individual litigation, the court system could not. It would be unduly burdensome
 9   to the courts in which individual litigation of numerous issues would proceed.
10   Individualized litigation would also present the potential for varying, inconsistent,
11   or contradictory judgments and would magnify the delay and expense to all parties
12   and to the court system resulting from multiple trials of the same complex factual
13   issues. By contrast, the conduct of this action as a class action presents fewer
14   management difficulties, conserves the resources of the parties and of the court
15   system, and protects the rights of each Class member.
16         38.    The prosecution of separate actions by individual Class members
17   would create a risk of adjudications with respect to them that would, as a practical
18   matter, be dispositive of the interests of the other Class members not parties to such
19   adjudications or that would substantially impair or impede the ability of such non-
20   party Class members to protect their interests.
21         39.    Defendant has acted or refused to act in respects generally applicable
22   to The Class, thereby making appropriate final and injunctive relief with regard to
23   the members of The Class as a whole.
24                    CLASS ACTION ALLEGATIONS - RFDCPA
25         40.    Plaintiff brings this action individually and on behalf of all others
26   similarly situated, as a member of the proposed class (hereafter “The Class”)
27   defined as follows:
28
                  All persons residing in the United States, who, within the


                                   CLASS ACTION COMPLAINT
                                              -9-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 10 of 15 Page ID #:10




 1                one (1) year preceding the filing of this Complaint,
                  received collection correspondence, through the use of
 2                the United States Postal Service, from Defendant that
 3                attempted to charge interest, fees, or charges not
                  authorized in the original agreement or by state law
 4
 5         41.    Plaintiff represents, and is a member of, The Class, consisting of All
 6   persons residing in the United States, who, within the one (1) year preceding the
 7   filing of this Complaint, received collection correspondence, through the use of the
 8   United States Postal Service, from Defendant that attempted to charge interest, fees,
 9   or charges not authorized in the original agreement or by state law.
10         42.    Defendant, its employees and agents are excluded from The Class.
11   Plaintiff does not know the number of members in The Class, but believes the Class
12   members number in the thousands, if not more. Thus, this matter should be
13   certified as a Class Action to assist in the expeditious litigation of the matter.
14         43.    The Class is so numerous that the individual joinder of all of its
15   members is impractical. While the exact number and identities of The Class
16   members are unknown to Plaintiff at this time and can only be ascertained through
17   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
18   The Class includes thousands of members.           Plaintiff alleges that The Class
19   members may be ascertained by the records maintained by Defendant.
20         44.    Plaintiff and members of The Class were harmed by the acts of
21   Defendant in at least the following ways: As a result of Defendant’s conduct,
22   Plaintiff and members of the putative class have been deprived of accurate and
23   valid information regarding the legal status of their debts and how much they owe.
24         45.    Common questions of fact and law exist as to all members of The
25   Class which predominate over any questions affecting only individual members of
26   The Class. These common legal and factual questions, which do not vary between
27   Class members, and which may be determined without reference to the individual
28   circumstances of any Class members, include, but are not limited to, the following:


                                   CLASS ACTION COMPLAINT
                                             -10-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 11 of 15 Page ID #:11




 1
 2                a. Whether, within the one (1) year preceding the filing of this
 3                    Complaint, Defendant sent collection letters, through the United
 4
                      States Postal Service, to debtors and consumers on time-barred
 5
 6                    debts that:
 7
                           1. Falsely represented the amount of the debt; and
 8
 9                         2. Charged interest, fees, or charges not authorized in the
10                            original agreement or by state law
11
                  b. Whether Plaintiff and the Class members were damaged thereby,
12
13                    and the extent of damages for such violation; and
14
15                c. Whether Defendant should be enjoined from engaging in such

16                    conduct in the future;

17         46.    As a person that received numerous collection correspondence from

18   Defendant using the United States Postal Service, Plaintiff is asserting claims that

19   are typical of The Class.

20         47.    Plaintiff will fairly and adequately protect the interests of the members

21   of The Class. Plaintiff has retained attorneys experienced in the prosecution of

22   class actions.

23         48.    A class action is superior to other available methods of fair and

24   efficient adjudication of this controversy, since individual litigation of the claims

25   of all Class members is impracticable. Even if every Class member could afford

26   individual litigation, the court system could not. It would be unduly burdensome

27   to the courts in which individual litigation of numerous issues would proceed.

28   Individualized litigation would also present the potential for varying, inconsistent,



                                    CLASS ACTION COMPLAINT
                                              -11-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 12 of 15 Page ID #:12




 1   or contradictory judgments and would magnify the delay and expense to all parties
 2   and to the court system resulting from multiple trials of the same complex factual
 3   issues. By contrast, the conduct of this action as a class action presents fewer
 4   management difficulties, conserves the resources of the parties and of the court
 5   system, and protects the rights of each Class member.
 6         49.    The prosecution of separate actions by individual Class members
 7   would create a risk of adjudications with respect to them that would, as a practical
 8   matter, be dispositive of the interests of the other Class members not parties to such
 9   adjudications or that would substantially impair or impede the ability of such non-
10   party Class members to protect their interests.
11         50.    Defendant has acted or refused to act in respects generally applicable
12   to The Class, thereby making appropriate final and injunctive relief with regard to
13   the members of The Class as a whole
14                             FIRST CAUSE OF ACTION
15          Negligent Violations of the Telephone Consumer Protection Act
16                                 47 U.S.C. §227 et seq.
17                    By Plaintiff and The Class Against Defendant
18         51.    Plaintiff repeats and incorporates by reference into this cause of
19   action the allegations set forth above at Paragraphs 1-50.
20         52.    The foregoing acts and omissions of Defendant constitute numerous
21   and multiple negligent violations of the TCPA, including but not limited to each
22   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
23         53.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
24   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
25   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
26         54.    Plaintiff and the Class members are also entitled to and seek
27   injunctive relief prohibiting such conduct in the future.
28   ///


                                   CLASS ACTION COMPLAINT
                                             -12-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 13 of 15 Page ID #:13




 1                           SECOND CAUSE OF ACTION
 2    Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                           Act
 4                                 47 U.S.C. §227 et seq.
 5                    By Plaintiff and The Class Against Defendant
 6          55.   Plaintiff repeats and incorporates by reference into this cause of
 7   action the allegations set forth above at Paragraphs 1-50.
 8          56.   The foregoing acts and omissions of Defendant constitute numerous
 9   and multiple knowing and/or willful violations of the TCPA, including but not
10   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
11   seq.
12          57.   As a result of Defendant’s knowing and/or willful violations of 47
13   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
14   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16          58.   Plaintiff and the Class members are also entitled to and seek
17   injunctive relief prohibiting such conduct in the future.
18                             THIRD CAUSE OF ACTION
19           Violations of the Rosenthal Fair Debt Collection Practices Act
20                             Cal. Civ. Code § 1788 et seq.
21                    By Plaintiff, Individually, Against Defendant
22
23          59.   Plaintiff repeats and reincorporates by reference into this cause of

24   action allegations set forth above at paragraphs 1-50.
25
            60.   To the extent that Defendant’s actions, counted above, violated the
26
27   RFDCPA, those actions were done knowingly and willfully.
28
     ///


                                  CLASS ACTION COMPLAINT
                                            -13-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 14 of 15 Page ID #:14




 1                                 PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff requests judgment against Defendant for the
 3
     following:
 4
 5                              FIRST CAUSE OF ACTION
 6         Negligent Violations of the Telephone Consumer Protection Act
 7                                  47 U.S.C. §227 et seq.
 8                 As a result of Defendant’s negligent violations of 47 U.S.C.
 9                 §227(b)(1), Plaintiff and the Class members are entitled to and
10                 request $500 in statutory damages, for each and every violation,
11                 pursuant to 47 U.S.C. 227(b)(3)(B).
12                 Any and all other relief that the Court deems just and proper.
13                            SECOND CAUSE OF ACTION
14    Knowing and/or Willful Violations of the Telephone Consumer Protection
15                                            Act
16                                  47 U.S.C. §227 et seq.
17                 As a result of Defendant’s willful and/or knowing violations of 47
18                 U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
19                 and request treble damages, as provided by statute, up to $1,500, for
20                 each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
21                 U.S.C. §227(b)(3)(C).
22                 Any and all other relief that the Court deems just and proper.
23                              THIRD CAUSE OF ACTION
24          Violations of the Rosenthal Fair Debt Collection Practices Act
25                              Cal. Civ. Code § 1788 et seq.
26
           WHEREFORE, Plaintiff respectfully prays that judgment be entered against
27
28   Defendant for the following:


                                    CLASS ACTION COMPLAINT
                                              -14-
     Case 2:18-cv-06312-AB-KS Document 1 Filed 07/20/18 Page 15 of 15 Page ID #:15




 1                A.     Actual damages;
 2                B.     Statutory damages for willful and negligent violations;
 3                C.     Costs and reasonable attorney’s fees;
 4                D.     For such other and further relief as may be just and proper.
 5
                                      TRIAL BY JURY
 6
           61.    Pursuant to the seventh amendment to the Constitution of the United
 7
     States of America, Plaintiff is entitled to, and demands, a trial by jury.
 8
 9                Respectfully submitted on July 20, 2018
10
11                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
12
13                              By:   /s/ Todd M. Friedman
                                      Todd M. Friedman
14
                                      Law Offices of Todd M. Friedman
15                                    Attorney for Plaintiff
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                                   CLASS ACTION COMPLAINT
                                             -15-
